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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

IN RE: JOHNSON & JOHNSON
TALCUM POWDER PRODUCTS

MARKETING, SALES PRACTICES : Civil Action No. 3:16-md-2738-
AND PRODUCTS LIABILITY : FLW-LHG
LITIGATION :

MDL No. 2738

AMENDMENT TO CASE MANAGEMENT ORDER NO. 3 WITH REGARD TO PCPC
SERVICE OF PROCESS
(Filing of Short Form Complaints)
Due to the change of counsel for Personal Care Products Council (““PCPC”) and with

the consent of all counsel: Case Management Order no. 3 (“CMO 3”) is amended to substitute

Suzanne I. Turpin, Esquire
sturpin@rmh-law.com

and/or

Gino Mecoli, Esquire
gmecoli@rmh-law.com

To replace:
Thomas T Locke, Esquire
Tlocke@seyfarth.com

All other portions of CMO 3 including the following language will remain in tact:
Personal Care Products Council (““PCPC”) agrees to waive formal service of process in
cases directly filed in the District of New Jersey pursuant to the Direct Filing Order; PCPC does
not waive any defenses available to it by accepting alternative service;
service shall be deemed perfected upon PCPC when Plaintiffs provide Notice of filing of the Short

Form Complaint along with the Short Form Complaint by email to PCPC’s counsel; and
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that in such instances, Plaintiff shall not need to serve the original complaint that was pending in
this multidistrict litigation. The Short Form Complaint shall replace the original complaint that

was pending in this multidistrict litigation.

This the_| OT day of July, 2024.

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